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      e t         1            KATHRYN ANN FITCHETT
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Notice of Postpetition Mortg ge                                                                                           ees                    penses              n                        rges
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                                              Deutsche Bank National Trust Company, as Trustee
                                              for New Century Home Equity Loan Trust, Series
                      o              io       2005-B, Asset Backed Pass-Through Certificates                                                    ou     l i   o (         n        n 10

       s                 i is   n num e                              uu et                0885
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         Appraisal/Bro                     r’s pri            p n n ee                                                                                                                  (

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 11               t e          Spe         Plan Review                                                                11/11/2019                                                       (11        150.00
 12               t e          Spe         Prep/analysis of 410A Form                                                 12/18/2019                                                       (12        250.00
 1                t e          Spe                                                                                                                                                     (1

 1                t e          Spe                                                                                                                                                     (1



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              Case 2:19-bk-14030-MCW                                                 Doc Filed 02/26/20 Entered 02/26/20 12:52:31                                                                  Desc
                                                                                     Main Document   Page 1 of 8
                      KATHRYN ANN FITCHETT                                                                                                   2:19-bk-14030-MCW
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                           Janet M. Spears                                                                                    Agent for Creditor
      nt                                                                                                                tle
                                    t        me                    le    me                  t    me



      mp n
                           Aldridge Pite, LLP


                           4375 Jutland Dr. Suite 200; P.O. Box 17933
           e
                               um e                       St eet
                               San Diego                                          CA                   92177
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       Case 2:19-bk-14030-MCW                                            Doc Filed 02/26/20 Entered 02/26/20 12:52:31                                                       Desc
                                                                         Main Document   Page 2 of 8
                                                                Aldridge Pite LLP
                                                                   PO BOX 935333
                                                               Atlanta, GA 31193 5333
                                                             Phone No: (404) 994-7400
                                                              Fax No: (888) 246-7307



                            Bankruptcy - Bankruptcy Services - Chapter 13 - INVOICE
PHH Mortgage                                                           Invoice #:
Andrea Jenkins                                                         Invoice Status:                Check Confirmed
2001 Bishops Gate Blvd                                                 Input By:                      Carin Hadfield
Mount Laurel, NJ 08054                                                 Date Submitted:                11/13/2019
Re:                  FITCHETT KATHRYN                                  Invoice Date:                  11/12/2019
                     8045N 31ST DR
                                                                       Vendor Ref #:
                     PHOENIX, AZ 85051 6217
                                                                       Vendor Code:                   ALDRIDGE
Loan #:
Loan Type:         Conventional                                        Payee Code:                    FALDRIDGE
Inv. ID / Cat. ID: F0A / 001                                           Type:                          Non Judicial
Cost Center:                                                           Referral Date                  11/6/2019
CONV Case No:
GSE Code:            O
                                                                       Acquisition Date:
GSE REO Rem. Code:
                                                                       Paid in Full Date:             N/A
                                                                       Foreclosure Removal            N/A
Original Mortgage Amount:    $117,000.00                               HiType                         1
Litigation Status Code:                                                Class Code
Man Code:                    B
BK Case No:          2:19-bk-14030-MCW
BK Chapter:          13




Invoice ID:          263552728
Asset Number:
Outsourcer:

 SubmittedDate        1st Reviewed Date        Last Reviewed        Accepted Date          Approved Date       Chk Requested          Chk Confirmed
   11/13/2019             11/26/2019             11/26/2019                                 11/26/2019           11/26/2019             11/27/2019

 Fee Description(s)                                       W/H Aff.Ind Item Date          Qty    Item Price        Orig. Billed        Adjust           Net

 Attorney Fees - Review of Plan                                        11/11/2019         1       $150.00            $150.00           $0.00        $150.00

      Note: Plan Review Recoverable




                                                                                                               $150.00                $0.00           $150.00




 Total:                                                                                                       $150.00                $0.00          $150.00

 Invoice Level Exceptions
 None


Invoice Level Comment
The classification of a fee and/or cost identified in this invoice as recoverable is based on our firm’s review of the loan documents, underlying
bankruptcy case, and/or default status of this account as of the time the fee and/or costs was incurred.




  Execution Date Time: 02/20/2020 10:47:40 AM                                                                                  Pages: 1/ 2
        Case 2:19-bk-14030-MCW                    Doc Filed 02/26/20 Entered 02/26/20 12:52:31                                         Desc
                                                  Main Document   Page 3 of 8
Payment information

Requested Date           Check/ACH#                Payment Date           Amount

11/26/2019                                         11/26/2019             $150.00

Category      Subcategory             Trans Code     Reason Code Caw Payee     Seq Code   Net Amount
                                                                 Code
Attorney Fees Review of Plan          630            BATY         01R23        92         $150.00




    Excecution Date Time: 02/20/2020 10:47:40 AM                                                       Pages: 2/ 2


     Case 2:19-bk-14030-MCW                 Doc Filed 02/26/20 Entered 02/26/20 12:52:31                       Desc
                                            Main Document   Page 4 of 8
                                                                Aldridge Pite LLP
                                                                   PO BOX 935333
                                                               Atlanta, GA 31193 5333
                                                             Phone No: (404) 994-7400
                                                              Fax No: (888) 246-7307



                              Bankruptcy - Bankruptcy Services - Chapter 13 - INVOICE
PHH Mortgage                                                           Invoice #:
Andrea Jenkins                                                         Invoice Status:                ACH Confirmed(Exc)
2001 Bishops Gate Blvd                                                 Input By:                      Carin Hadfield
Mount Laurel, NJ 08054                                                 Date Submitted:                12/20/2019
Re:                  FITCHETT KATHRYN                                  Invoice Date:                  12/19/2019
                     8045N 31ST DR
                                                                       Vendor Ref #:
                     PHOENIX, AZ 85051 6217
                                                                       Vendor Code:                   ALDRIDGE
Loan #:
Loan Type:         Conventional                                        Payee Code:                    FALDRIDGE
Inv. ID / Cat. ID: F0A / 001                                           Type:                          Non Judicial
Cost Center:                                                           Referral Date                  12/16/2019
CONV Case No:
GSE Code:            O
                                                                       Acquisition Date:
GSE REO Rem. Code:
                                                                       Paid in Full Date:             N/A
                                                                       Foreclosure Removal            N/A
Original Mortgage Amount:     $117,000.00                              HiType                         1
Litigation Status Code:                                                Class Code
Man Code:                     B
BK Case No:           2:19-bk-14030-MCW
BK Chapter:           13




Invoice ID:          265654516
Asset Number:
Outsourcer:

 SubmittedDate        1st Reviewed Date        Last Reviewed        Accepted Date          Approved Date       Chk Requested          Chk Confirmed
   12/20/2019             12/21/2019             12/21/2019                                 12/21/2019           12/23/2019             12/25/2019

 Fee Description(s)                                       W/H Aff.Ind Item Date          Qty    Item Price       Orig. Billed         Adjust           Net

 Attorney Fees - Proof of Claim                                        12/18/2019         1       $500.00            $500.00           $0.00        $500.00

      Note: Proof of Claim Recoverable



 Attorney Fees - Bankruptcy Fee                                        12/18/2019         1       $250.00            $250.00           $0.00        $250.00

      Note: Prep and/or analysis of Official 410A form Recoverable




                                                                                                               $750.00                $0.00           $750.00




 Total:                                                                                                       $750.00                $0.00          $750.00

 Invoice Level Exceptions
 Possible Duplicate Invoice


Invoice Level Comment
The classification of a fee and/or cost identified in this invoice as recoverable is based on our firm’s review of the loan documents, underlying
bankruptcy case, and/or default status of this account as of the time the fee and/or costs was incurred.


   Execution Date Time: 02/20/2020 10:47:40 AM                                                                                 Pages: 1/ 2
        Case 2:19-bk-14030-MCW                    Doc Filed 02/26/20 Entered 02/26/20 12:52:31                                         Desc
                                                  Main Document   Page 5 of 8
Payment information

Requested Date           Check/ACH#                Payment Date           Amount

12/23/2019                                         12/24/2019             $250.00

Category      Subcategory             Trans Code     Reason Code Caw Payee     Seq Code   Net Amount
                                                                 Code
Attorney Fees Bankruptcy Fee          630            BATY         01R23        92         $250.00

Requested Date           Check/ACH#                Payment Date           Amount

12/23/2019                                         12/24/2019             $500.00

Category      Subcategory             Trans Code     Reason Code Caw Payee     Seq Code   Net Amount
                                                                 Code
Attorney Fees Proof of Claim          630            FPOC         01R23        92         $500.00




    Excecution Date Time: 02/20/2020 10:47:40 AM                                                       Pages: 2/ 2


     Case 2:19-bk-14030-MCW                 Doc Filed 02/26/20 Entered 02/26/20 12:52:31                       Desc
                                            Main Document   Page 6 of 8
  1   Janet M. Spears (SBN 023833)
      jspears@aldridgepite.com
  2   ALDRIDGE PITE, LLP
      4375 Jutland Drive, Suite 200
  3   P.O. Box 17933
      San Diego, CA 92177-0933
  4   Telephone: (858) 750-7600
      Facsimile: (619) 590-1385
  5

  6   Attorneys for Deutsche Bank National Trust
      Company, as Trustee for New Century Home
  7   Equity Loan Trust, Series 2005-B, Asset Backed
      Pass-Through Certificates
  8
                                  UNITED STATES BANKRUPTCY COURT
  9
                              DISTRICT OF ARIZONA - PHOENIX DIVISION
 10

 11    In re                                            Chapter 13
 12    KATHRYN ANN FITCHETT,                            Case No. 2:19-BK-14030-MCW
 13                     Debtor.                         PROOF OF SERVICE
 14

 15            I, Victoria A. Figueroa, declare that:
 16            I am employed by Aldridge Pite, LLP. My business address is: 4375 Jutland Drive, Suite
 17   200, P.O. Box 17933, San Diego, CA 92177-0933. I am over the age of eighteen years and not
 18   a party to this case.
 19            I hereby certify that a copy of the foregoing Notice of Postpetition Mortgage Fees,
 20   Expenses and Charges was served on February 26, 2020. Service was accomplished by the
 21   method and to the following as indicated:
 22                       BY ELECTRONIC NOTICE OR FIRST CLASS MAIL
 23
                                          KATHRYN ANN FITCHETT
 24                                         8045 N. 31ST DRIVE
                                            PHOENIX, AZ 85051
 25                                            (Via U.S. Mail)
 26                                      THOMAS ADAMS MCAVITY
                                             tom@nwrelief.com
 27                                             (Via Email)
                                                      1                    CASE NO. 2:19-bk-14030-MCW
 28
                                               PROOF OF SERVICE


Case 2:19-bk-14030-MCW            Doc Filed 02/26/20 Entered 02/26/20 12:52:31          Desc
                                  Main Document   Page 7 of 8
  1
                                            EDWARD J. MANEY
  2                                     service@maney13trustee.com
                                                (Via Email)
  3
                                             U.S. Trustee
  4                               USTPRegion14.PX.ECF@USDOJ.GOV
                                             (Via Email)
  5
             I declare under penalty of perjury that the foregoing is true and correct.
  6

  7
      Dated: February 26, 2020                      /s/ Victoria A Figueroa
  8                                                 VICTORIA A. FIGUEROA
  9

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                                                    2                         CASE NO. 2:19-bk-14030-MCW
 28
                                             PROOF OF SERVICE


Case 2:19-bk-14030-MCW        Doc Filed 02/26/20 Entered 02/26/20 12:52:31                 Desc
                              Main Document   Page 8 of 8
